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JS44 (Rev. 10 0 0 NDGA)                         CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
        Todd A. Crosby and Steven R. Saylor                                                     Stan Koch & Sons Trucking, Inc., Jill Ann Noland, City of
                                                                                                Douglas, Georgia and CSX Transportation, Inc.




   (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
        PLAINTIFF                                                                              DEFENDANT
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                       ATTORNEYS (IF KNOWN)
                                   E-MAIL ADDRESS)

        Edward S. Cook, William Leverett, Lindsey Rodgers and
        Robert R. Underwood, II, COOK, p.c.
        970 Peachtree Industrial Blvd. Ste. 202
        Suwanee, GA 30024
        (404) 841-8485
        ecook@cookpclaw.com
II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                        (FOR DIVERSITY CASES ONLY)

                                                                              PLF      DEF                                 PLF      DEF

   1 U.S. GOVERNMENT         ✔ 3 FEDERAL QUESTION                               1        1 CITIZEN OF THIS STATE               4       4    INCORPORATED OR PRINCIPAL
     PLAINTIFF                     (U.S. GOVERNMENT NOT A PARTY)                                                                            PLACE OF BUSINESS IN THIS STATE

   2 U.S. GOVERNMENT             4 DIVERSITY                                    2        2   CITIZEN OF ANOTHER STATE          5       5    INCORPORATED AND PRINCIPAL
     DEFENDANT                     (INDICATE CITIZENSHIP OF PARTIES                                                                         PLACE OF BUSINESS IN ANOTHER STATE
                                    IN ITEM III)
                                                                                3        3   CITIZEN OR SUBJECT OF A          6        6    FOREIGN NATION
                                                                                             FOREIGN COUNTRY


IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM              MULTIDISTRICT         APPEAL TO DISTRICT JUDGE
 ✔ 1 ORIGINAL 2 REMOVED FROM         3 REMANDED FROM                           4 REINSTATED OR        5 ANOTHER DISTRICT            6 LITIGATION -        7 FROM MAGISTRATE JUDGE
        PROCEEDING          STATE COURT              APPELLATE COURT            REOPENED                  (Specify District)          TRANSFER              JUDGMENT


        MULTIDISTRICT
      8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS DIVERSITY)

    45 U.S.C. §§51-60--Federal Employers Liability Act. CSXT Train Crew (Plaintiffs) were injured when a tractor trailer fouled
    the subject railroad crossing at grade, causing a collision and the derailment of the CSXT train operated by Plaintiffs.



(IF COMPLEX, CHECK REASON BELOW)
   ✔ 1. Unusually large number of parties.                                           6. Problems locating or preserving evidence
        2. Unusually large number of claims or defenses.                             7. Pending parallel investigations or actions by government.
   ✔ 3. Factual issues are exceptionally complex                                ✔ 8. Multiple use of experts.
        4. Greater than normal volume of evidence.                                   9. Need for discovery outside United States boundaries.
   ✔ 5. Extended discovery period is needed.                                    ✔10. Existence of highly technical issues and proof.

                                                                        CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                           AMOUNT $                                         APPLYING IFP                        MAG. JUDGE (IFP) ______________________

JUDGE                               MAG. JUDGE                                       NATURE OF SUIT                       CAUSE OF ACTION______________________
                                                      (Referral)
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VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK             CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK                SOCIAL SECURITY - "0" MONTHS DISCOVERY
        150 RECOVERY OF OVERPAYMENT &                   440 OTHER CIVIL RIGHTS                             TRACK
             ENFORCEMENT OF JUDGMENT                    441 VOTING                                               861 HIA (1395ff)
        152 RECOVERY OF DEFAULTED STUDENT               442 EMPLOYMENT                                           862 BLACK LUNG (923)
            LOANS (Excl. Veterans)                      443 HOUSING/ ACCOMMODATIONS                              863 DIWC (405(g))
        153 RECOVERY OF OVERPAYMENT OF                  445 AMERICANS with DISABILITIES - Employment             863 DIWW (405(g))
            VETERAN'S BENEFITS                          446 AMERICANS with DISABILITIES - Other                  864 SSID TITLE XVI
                                                        448 EDUCATION                                            865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK
        110 INSURANCE                                                                                      FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
        120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK                 TRACK
        130 MILLER ACT                                  462 NATURALIZATION APPLICATION                           870 TAXES (U.S. Plaintiff or Defendant)
        140 NEGOTIABLE INSTRUMENT                       465 OTHER IMMIGRATION ACTIONS                            871 IRS - THIRD PARTY 26 USC 7609
        151 MEDICARE ACT
        160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY                OTHER STATUTES - "4" MONTHS DISCOVERY
        190 OTHER CONTRACT                        TRACK                                                    TRACK
        195 CONTRACT PRODUCT LIABILITY                  463 HABEAS CORPUS- Alien Detainee                        375 FALSE CLAIMS ACT
        196 FRANCHISE                                   510 MOTIONS TO VACATE SENTENCE                           376 Qui Tam 31 USC 3729(a)
                                                        530 HABEAS CORPUS                                        400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY                    535 HABEAS CORPUS DEATH PENALTY                          430 BANKS AND BANKING
TRACK                                                   540 MANDAMUS & OTHER                                     450 COMMERCE/ICC RATES/ETC.
        210 LAND CONDEMNATION                           550 CIVIL RIGHTS - Filed Pro se                          460 DEPORTATION
        220 FORECLOSURE                                 555 PRISON CONDITION(S) - Filed Pro se                   470 RACKETEER INFLUENCED AND CORRUPT
        230 RENT LEASE & EJECTMENT                      560 CIVIL DETAINEE: CONDITIONS OF                             ORGANIZATIONS
        240 TORTS TO LAND                                   CONFINEMENT                                          480 CONSUMER CREDIT
        245 TORT PRODUCT LIABILITY                                                                               485 TELEPHONE CONSUMER PROTECTION ACT
        290 ALL OTHER REAL PROPERTY               PRISONER PETITIONS - "4" MONTHS DISCOVERY                      490 CABLE/SATELLITE TV
                                                  TRACK                                                          890 OTHER STATUTORY ACTIONS
TORTS - PERSONAL INJURY - "4" MONTHS                    550 CIVIL RIGHTS - Filed by Counsel                      891 AGRICULTURAL ACTS
DISCOVERY TRACK                                         555 PRISON CONDITION(S) - Filed by Counsel               893 ENVIRONMENTAL MATTERS
        310 AIRPLANE                                                                                             895 FREEDOM OF INFORMATION ACT 899
        315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                      899 ADMINISTRATIVE PROCEDURES ACT /
        320 ASSAULT, LIBEL & SLANDER              TRACK                                                              REVIEW OR APPEAL OF AGENCY DECISION
    ✔   330 FEDERAL EMPLOYERS' LIABILITY
        340 MARINE
                                                        625 DRUG RELATED SEIZURE OF PROPERTY
                                                             21 USC 881
                                                                                                                 950 CONSTITUTIONALITY OF STATE STATUTES

        345 MARINE PRODUCT LIABILITY                    690 OTHER
                                                                                                           OTHER STATUTES - "8" MONTHS DISCOVERY
        350 MOTOR VEHICLE
                                                                                                           TRACK
        355 MOTOR VEHICLE PRODUCT LIABILITY       LABOR - "4" MONTHS DISCOVERY TRACK
        360 OTHER PERSONAL INJURY                       710 FAIR LABOR STANDARDS ACT                             410 ANTITRUST
        362 PERSONAL INJURY - MEDICAL                   720 LABOR/MGMT. RELATIONS                                850 SECURITIES / COMMODITIES / EXCHANGE
            MALPRACTICE                                 740 RAILWAY LABOR ACT
        365 PERSONAL INJURY - PRODUCT LIABILITY         751 FAMILY and MEDICAL LEAVE ACT                   OTHER STATUTES - “0" MONTHS DISCOVERY
        367 PERSONAL INJURY - HEALTH CARE/              790 OTHER LABOR LITIGATION                         TRACK
             PHARMACEUTICAL PRODUCT LIABILITY           791 EMPL. RET. INC. SECURITY ACT                         896 ARBITRATION
        368 ASBESTOS PERSONAL INJURY PRODUCT                                                                         (Confirm / Vacate / Order / Modify)
             LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                  TRACK
TORTS - PERSONAL PROPERTY - "4" MONTHS                  820 COPYRIGHTS
DISCOVERY TRACK                                         840 TRADEMARK                                      * PLEASE NOTE DISCOVERY
        370 OTHER FRAUD
        371 TRUTH IN LENDING                                                                                 TRACK FOR EACH CASE
        380 OTHER PERSONAL PROPERTY DAMAGE
        385 PROPERTY DAMAGE PRODUCT LIABILITY
                                                  PROPERTY RIGHTS - "8" MONTHS DISCOVERY                     TYPE. SEE LOCAL RULE 26.3
                                                  TRACK
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK                  830 PATENT
        422 APPEAL 28 USC 158                            835 PATENT A REVIATED NEW DRUG
                                                             APPLICATIONS ANDA
        423 WITHDRAWAL 28 USC 157
                                                             H    W




VII. REQUESTED IN COMPLAINT:
      CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23            DEMAND $_____________________________
JURY DEMAND ✔ YES               NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
        JUDGE_______________________________                           DOCKET NO._______________________
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
        1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
        2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
        3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
        4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
           BANKRUPTCY JUDGE.
        5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
        6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




        7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                          , WHICH WAS
           DISMISSED. This case IS     IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




                                                                                                 7/25/23
 SIGNATURE OF ATTORNEY OF RECORD                                                                  DATE
